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                         EXHIBIT I
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Project No. S9850-03-14A
April, 2018

McKinley Lewis
Project Manager
Department of Toxic Substances Control
8800 Cal Center Drive
Sacramento, California 95826
Subject:        QUARTERLY GROUNDWATER MONITORING REPORT – MARCH 2018
                WICKES FOREST INDUSTRIES
                147 “A” STREET, ELMIRA, CALIFORNIA
                CONTRACT NO. 14-T3962 A-1, WORK ORDER NO. 1-962-1.2-100164

Dear Mr. Lewis:

Pursuant to Agreement Number 14-T3962 A-1, Work Order No. 1-962-1.2-100164 with the California
Department of Toxic Substances Control (DTSC), Geocon Consultants, Inc. (Geocon) performed
groundwater monitoring at the former Wickes Forest Industries facility (the Site) in Elmira, California
(Figure 1). This report documents the procedures and results of quarterly monitoring conducted in March
2018 including the sampling of three offsite domestic irrigation wells and analysis of groundwater
samples by a California-certified laboratory. The work was conducted in accordance with the Sampling
and Analysis Plan (SAP) prepared by Geocon and approved by DTSC on September 17, 2015.

                                          BACKGROUND

The Site is a former wood treatment facility and the contaminants of concern (COCs) are arsenic and
hexavalent chromium (Cr[VI]). Historical site operations included lumber treatment in retort vessels
using wood preservatives that contained arsenic, chromium, and copper. Previous investigations showed
that site soil and groundwater were impacted with these metals and that impacted groundwater migrated
offsite to the south and east. Site operations ceased in 1982.

The DTSC and Central Valley Regional Water Quality Control Board (CVRWQCB) have actively
overseen site remediation since 1982. In September 1983, the DTSC and CVRWQCB approved a
remedial action plan (RAP) that addressed soil and groundwater contamination issues associated with
the southern portion of the Site. A portion of the Site was then capped with concrete. In February 1994,
a second RAP was approved that addressed soil contamination in the northern portion of the Site. During
implementation of this RAP, the entire Site was capped with asphalt and concrete. Drainage ditches were
installed around the site perimeter to contain water that flows across the asphalt.

In 1983 and 1984, a groundwater extraction and treatment system (GWETS) consisting of a
13-foot-deep, 200-foot-long extraction trench and recovery well, was installed at the Site to
remediate impacted groundwater. Groundwater was pumped to the surface and treated in an onsite,
ion-exchange treatment system. In 1992, seven extraction wells were added to the GWETS, and the
ion-exchange treatment system was replaced with a more effective, electrochemical treatment
system. Metals concentrations in shallow groundwater were significantly reduced by this treatment.
However, COC concentrations began to stabilize in 1998 and showed little change over the last 3
years of treatment between 2002 and 2005. The GWETS was shut down in August 2005 due to the
bankruptcy of the responsible party. The GWETS was dismantled in 2011.
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In April 2008, URS Corporation (URS) conducted a soil investigation in the vicinity of former well E-6 (URS,
2008). URS concluded that shallow soil beneath the northeastern and southwestern portions of the building
covering the former process area were a continuing source of arsenic and Cr(VI) to groundwater, particularly
during periods of high groundwater elevations. URS prepared a Removal Action Workplan (RAW) to address
soil and groundwater containing COCs at concentrations exceeding established cleanup goals (URS, 2009b).
Following approval, a soil removal action was implemented in October 2011. The soil removal action required
that wells E-6 and E-30 be destroyed. Replacement wells E-6A, E-6B, and E-30A were installed in March
2012. Arsenic and Cr(VI) concentrations in recently collected groundwater samples from wells E-6A and E-
6B are less than those reported for groundwater in the same area prior to implementation of the removal
action.

Results of past groundwater monitoring show that there are two primary plumes of Cr(VI)-impacted
groundwater beneath the Site. The highest Cr(VI) concentrations (greater than 100 micrograms per liter
[µg/l]) have been detected in groundwater samples from the plume beneath the southern portion of the Site,
which extends south beneath A Street. The other primary area of Cr(VI)-impacted groundwater is beneath
the northeastern portion of the Site and extends south beneath Holdener Road, beyond the site boundaries.
Cr(VI) concentrations are lower in samples from this plume. Cr(VI) has also been reported for groundwater
samples collected from well E-1.

                                   PURPOSE AND OBJECTIVES

The purpose of this quarterly event was to monitor groundwater in operating domestic irrigation wells
RH-A, MP-2, and RW near the plume to confirm that COC concentrations remain less than their
respective remedial action objectives (RAOs) and maximum contaminant levels (MCLs). The objective
was to collect representative groundwater samples from the wells and analyze them for COCs. Figure 2
shows the locations of wells monitored during this quarterly event.

                              MARCH 2018 GROUNDWATER MONITORING

This section describes March 2018 quarterly groundwater monitoring and presents the results of
laboratory analysis of groundwater samples collected for this event.

Well Purging and Sampling

We purged and collected groundwater samples from domestic irrigation wells RH-A, MP-2, and RW
on March 21, 2018. Each of these wells has a submersible pump. Therefore, to purge each of these wells
prior to sampling, the pump was turned on and water was purged from the well and the water storage
tank until the tank was empty to ensure that groundwater from the water-bearing formation, and not water
from the storage tank, was being sampled.

Groundwater samples were collected using pre-cleaned, disposable polyethylene bailers, filtered in the
field using 0.45-micron disposable filters, and decanted into laboratory-provided containers for analysis.
The samples were sealed, labeled, stored on ice, and transported to the analytical laboratory under chain-
of-custody protocol.

Investigation-derived waste was placed in plastic garbage bags for disposal at the local sanitary landfill.
There was no purge water contained during this sampling event.




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Laboratory Analyses

The groundwater samples were submitted to California Laboratory Services (CLS) of Rancho Cordova,
California. CLS analyzed the samples for dissolved arsenic following United States Environmental
Protection Agency (EPA) Test Method 200.8 and dissolved Cr(VI) following EPA Test Method 218.6.

Groundwater Analytical Results

The table below summarizes the dissolved arsenic and Cr(VI) analytical results for groundwater samples
collected during this monitoring event. The laboratory report and chain-of-custody documentation are in
Attachment A.

                                                    Dissolved Cr(VI)                         Dissolved Arsenic
                   Well ID
                                                              (µg/l)                                    (µg/l)
                   RH-A                                      3.7                                        <2.0
                   MP-2                                      <1.0                                       <2.0
                    RW                                       <1.0                                       <2.0
                 RAO/MCL                                10 µg/l (RAO)                              10 µg/l (MCL)
       Notes: RAO = Remedial Action Objective established in the RAP
              MCL = Maximum Contaminant Level for drinking water established by the United States Environmental Protection Agency or
                    State of California
              < = not detected at concentrations exceeding the reporting limit shown.
              µg/l = micrograms per liter

Quality Assurance/Quality Control

Quality assurance/quality control (QA/QC) measures implemented for the March 2018 monitoring event
included use of new, clean nitrile gloves for each sample collection. Also, a field duplicate groundwater
sample was collected from well RH-A and labeled RH-B. Dissolved arsenic was not reported at a
concentration equal to or greater than the laboratory test method reporting limit (RL) for the duplicate sample,
thus showing good repeatability. Dissolved Cr(VI) was reported for duplicate sample RH-B at 3.2 µg/l. The
resulting relative percent difference (RPD) is 14%, thus showing good repeatability.

We also reviewed the QA/QC protocols documented in the laboratory report. Dissolved Cr(VI) and
arsenic were not detected in the two laboratory blanks. Both the laboratory control sample (LCS) and the
LCS duplicate had acceptable recoveries. Elevated recoveries (122% and 125%, limit is 80%-120%) for
Cr(VI) were reported for the matrix spike and matrix spike duplicate samples. An elevated recovery
(132%, limit 70%-130%) for arsenic was reported for the matrix spike sample. A laboratory report
notation indicates that the batch was accepted based on an acceptable LCS and LCS duplicate. Based on
the field and laboratory QA/QC, no qualification of the data presented herein is necessary, and the data
are of sufficient quality for the purposes of this report.

                                  CONCLUSIONS AND RECOMMENDATIONS

The reported dissolved Cr(VI) concentration for the sample collected from domestic irrigation well RH-A
(and in the blind duplicate sample RH-B) does not exceed its RAO. Dissolved Cr(VI) was not reported at
concentrations greater than the RL for the other two samples. Arsenic was not detected at concentrations
greater than the RL in each of the three samples analyzed.

Upcoming Monitoring

The First 2018 semi-annual groundwater monitoring event is scheduled for June 2018.


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We appreciate the opportunity to assist the DTSC with this project. Please contact us if you have any
questions concerning this report or if we may be of further service.

Sincerely,

GEOCON CONSULTANTS, INC.




Rebecca L. Silva                                        Jim Brake, PG
Project Manager                                         Senior Geologist

Attachments:       Figure 1, Vicinity Map
                   Figure 2, Site Plan

                   Attachment A, Laboratory Report and Chain-of-custody Documentation




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          March 28, 2018                                                          CLS Work Order #: 18C1052
                                                                                            COC #:


          Rebecca Silva
          Geocon Consultants
          3160 Gold Valley Dr. Suite #800
          Rancho Cordova, CA 95742

          Project Name: DBC Wickes Forest Industries



          Enclosed are the results of analyses for samples received by the laboratory on 03/21/18
          13:09. Samples were analyzed pursuant to client request utilizing EPA or other ELAP
          approved methodologies. I certify that the results are in compliance both technically and
          for completeness.

          Analytical results are attached to this letter. Please call if we can provide additional
          assistance.



          Sincerely,




          James Liang, Ph.D.
          Laboratory Director



          CA SWRCB ELAP Accreditation/Registration number 1233




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  Geocon Consultants                                        Project:             DBC Wickes Forest Industries
  3160 Gold Valley Dr. Suite #800                           Project Number:      S9850-03-14A                              CLS Work Order #: 18C1052
  Rancho Cordova, CA 95742                                  Project Manager:     Rebecca Silva                             COC #:

                                      Conventional Chemistry Parameters by APHA/EPA Methods


                                                                Reporting
Analyte                                            Result          Limit       Units   Dilution   Batch      Prepared        Analyzed     Method         Notes

RW (18C1052-01) Water Sampled: 03/21/18 10:05 Received: 03/21/18 13:09

Hexavalent Chromium, Dissolved                     ND                1.0        µg/L         1     1802424      03/23/18      03/26/18   EPA 218.6

RH-A (18C1052-02) Water Sampled: 03/21/18 09:45 Received: 03/21/18 13:09

Hexavalent Chromium, Dissolved                      3.7              1.0        µg/L         1    1802424       03/23/18     03/26/18    EPA 218.6

RH-B (18C1052-03) Water Sampled: 03/21/18 09:55 Received: 03/21/18 13:09

Hexavalent Chromium, Dissolved                      3.2              1.0        µg/L         1    1802424       03/23/18     03/26/18    EPA 218.6

MP-2 (18C1052-04) Water Sampled: 03/21/18 10:15 Received: 03/21/18 13:09

Hexavalent Chromium, Dissolved                     ND                1.0        µg/L         1     1802424      03/23/18      03/26/18   EPA 218.6




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  Geocon Consultants                                        Project:             DBC Wickes Forest Industries
  3160 Gold Valley Dr. Suite #800                           Project Number:      S9850-03-14A                              CLS Work Order #: 18C1052
  Rancho Cordova, CA 95742                                  Project Manager:     Rebecca Silva                             COC #:

                                                Metals (Dissolved) by EPA 200 Series Methods


                                                                Reporting
Analyte                                            Result          Limit       Units   Dilution   Batch      Prepared        Analyzed     Method         Notes

RW (18C1052-01) Water Sampled: 03/21/18 10:05 Received: 03/21/18 13:09

Arsenic                                            ND                2.0        µg/L         1     1802383      03/22/18      03/22/18   EPA 200.8

RH-A (18C1052-02) Water Sampled: 03/21/18 09:45 Received: 03/21/18 13:09

Arsenic                                            ND                2.0        µg/L         1     1802383      03/22/18      03/22/18   EPA 200.8

RH-B (18C1052-03) Water Sampled: 03/21/18 09:55 Received: 03/21/18 13:09

Arsenic                                            ND                2.0        µg/L         1     1802383      03/22/18      03/22/18   EPA 200.8

MP-2 (18C1052-04) Water Sampled: 03/21/18 10:15 Received: 03/21/18 13:09

Arsenic                                            ND                2.0        µg/L         1     1802383      03/22/18      03/22/18   EPA 200.8




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   Geocon Consultants                                         Project:              DBC Wickes Forest Industries
   3160 Gold Valley Dr. Suite #800                            Project Number:       S9850-03-14A                          CLS Work Order #: 18C1052
   Rancho Cordova, CA 95742                                   Project Manager:      Rebecca Silva                         COC #:

                                 Conventional Chemistry Parameters by APHA/EPA Methods - Quality Control


                                                                  Reporting                 Spike     Source              %REC              RPD
Analyte                                            Result            Limit       Units      Level     Result       %REC   Limits   RPD      Limit      Notes

Batch 1802424 - General Prep
Blank (1802424-BLK1)                                                                     Prepared: 03/23/18 Analyzed: 03/26/18
Hexavalent Chromium, Dissolved                        ND                1.0      µg/L

LCS (1802424-BS1)                                                                        Prepared: 03/23/18 Analyzed: 03/26/18
Hexavalent Chromium, Dissolved                       9.51               1.0      µg/L        10.0                   95    80-120

LCS Dup (1802424-BSD1)                                                                   Prepared: 03/23/18 Analyzed: 03/26/18
Hexavalent Chromium, Dissolved                       10.5               1.0      µg/L        10.0                  105    80-120    10       20

Matrix Spike (1802424-MS1)                                  Source: 18C1059-01           Prepared: 03/23/18 Analyzed: 03/26/18
Hexavalent Chromium, Dissolved                       12.2               1.0      µg/L        10.0      ND          122    80-120                              QM-7

Matrix Spike Dup (1802424-MSD1)                             Source: 18C1059-01           Prepared: 03/23/18 Analyzed: 03/26/18
Hexavalent Chromium, Dissolved                       12.5               1.0      µg/L        10.0      ND          125    80-120     2       20               QM-7




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   Geocon Consultants                                       Project:              DBC Wickes Forest Industries
   3160 Gold Valley Dr. Suite #800                          Project Number:       S9850-03-14A                          CLS Work Order #: 18C1052
   Rancho Cordova, CA 95742                                 Project Manager:      Rebecca Silva                         COC #:

                                     Metals (Dissolved) by EPA 200 Series Methods - Quality Control


                                                                Reporting                 Spike     Source              %REC              RPD
Analyte                                           Result           Limit       Units      Level     Result       %REC   Limits   RPD      Limit      Notes

Batch 1802383 - EPA 200 Series
Blank (1802383-BLK1)                                                                   Prepared & Analyzed: 03/22/18
Arsenic                                              ND               2.0      µg/L

LCS (1802383-BS1)                                                                      Prepared & Analyzed: 03/22/18
Arsenic                                             104               2.0      µg/L        100                   104    85-115

Matrix Spike (1802383-MS1)                                Source: 18C0900-01           Prepared & Analyzed: 03/22/18
Arsenic                                             134               2.0      µg/L        100       1.97        132    70-130                              QM-7




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 Geocon Consultants                                                Project:               DBC Wickes Forest Industries
 3160 Gold Valley Dr. Suite #800                                   Project Number:        S9850-03-14A                    CLS Work Order #: 18C1052
 Rancho Cordova, CA 95742                                          Project Manager:       Rebecca Silva                   COC #:

                                                                         Notes and Definitions
QM-7          The spike recovery was outside acceptance limits for the MS and/or MSD. The batch was accepted based on acceptable
              LCS/LCSD recovery.
DET           Analyte DETECTED

ND            Analyte NOT DETECTED at or above the reporting limit (or method detection limit when specified)

NR            Not Reported

dry           Sample results reported on a dry weight basis

RPD           Relative Percent Difference




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